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  1                                                  NOTE: CHANGES MADE BY COURT
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  8                          UNITED STATES DISTRICT COURT
  9                        CENTRAL DISTRICT OF CALIFORNIA
 10                                SOUTHERN DIVISION
 11   SHANA PIERRE, individually and on               Case No. 8:22-cv-01280-FWS-JDE
      behalf of all others similarly situated,
 12                                                   ORDER RE STIPULATION TO
                                                      VACATE RULE 26(F)
 13                 Plaintiff,                        SCHEDULING CONFERENCE AND
                                                      RELATED DEADLINES PENDING
 14            v.                                     RULING ON DEFENDANT’S
                                                      MOTION TO COMPEL
 15                                                   ARBITRATION [25]
    IEC CORPORATION D/B/A
 16 INTERNATIONAL EDUCATION
    CORPORATION, a Delaware
 17 corporation,

 18                 Defendants.
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  1         Having considered and reviewed the Parties’ Stipulation to Vacate Rule
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      26(f) Scheduling Conference and Related Deadlines Pending Ruling on
  3

  4 Defendant’s Motion to Compel Arbitration [25] (the “Stipulation”), and good

  5 cause appearing, the court ORDERS the following:

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  8         The Rule 26(f) Scheduling Conference currently set on December 1, 2022, at
  9         9:00 a.m., is CONTINUED to February 2, 2023, 9:00 a.m., in Courtroom
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            10D. The Parties shall review and comply with the court’s Civil Standing
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 12         Order [10], including on the issues of any applicable procedures and
 13         deadlines.
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 16         IT IS SO ORDERED.

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 18 DATED: November 8, 2022

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                                           Hon. Fred W. Slaughter
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                                           UNITED STATES DISTRICT COURT
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